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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

HALLMARK LICENSING, LLC,

                        Plaintiff,                     Case No. 24-cv-11002

       v.                                              Judge Matthew F. Kennelly

THE PARTNERSHIPS and                                   Magistrate Judge Beth W. Jantz
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A”,

                        Defendants.


                            RESPONSE TO MINUTE ORDER [32]

       Plaintiff Hallmark Licensing, LLC (“Plaintiff”) submits this response and moves this

Honorable Court for reconsideration of the Court’s November 23, 2024, Minute Order [32] (the

“Order”) denying Plaintiff’s Motion for Entry of Preliminary Injunction [28] without prejudice.

[32]. However, Plaintiff respectfully requests that the Temporary Restraining Order [20] be

extended to allow additional time before a hearing on Plaintiff’s Motion for Entry of a Preliminary

Injunction.

       The Temporary Restraining Order [20] (“TRO”) directed that the Third Party Providers

respond within seven (7) calendar days of receipt of the TRO. [20] at ¶ 5. The Third Party

Providers typically take all seven (7) calendar days (or more) to confirm that the TRO has been

effectuated and provide defendants’ e-mail addresses. Because all of the Third Party Platforms

had not fully effectuated the TRO by the initial November 12, 2024, deadline to file a motion for

preliminary injunction or motion to extend the TRO, Plaintiff requested that it be extended through

November 27, 2024. [26]. The Court extended the TRO and set a deadline to file any motion for




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preliminary injunction for November 22, 2024, and a corresponding hearing for November 27,

2024. Id.

       The Third Party Platforms provided Plaintiff with the e-mail addresses of the Defendants

pursuant to the TRO on the following dates: November 8, 2024 (Defendant Nos. 46-49), November

11, 2024 (Defendant Nos. 53-81), November 12, 2024 (Defendant Nos. 16-45 and 50-52),

November 14, 2024 (Defendant No. 82), November 18, 2024 (Defendant Nos. 1-9) and November

21, 2024 (Defendant Nos. 10-15). Plaintiff served Defendants promptly upon receipt of contact

information for all Defendants. Plaintiff filed and provided notice of Plaintiff’s Motion for Entry

of Preliminary Injunction [28] to Defendants on November 22, 2024. Plaintiff served Defendants

the same day. [31].

       Accordingly, Plaintiff respectfully requests that the Court reconsider the Order [32], extend

the TRO until there is a ruling on Plaintiff’s Motion for Entry of Preliminary Injunction [28] and

grant Plaintiff’s Motion for Entry of Preliminary Injunction [28]. Plaintiff respectfully submits

that there is good cause to extend the TRO to allow additional time for Defendants to respond to

Plaintiff’s Motion, since Plaintiff received all of Defendants’ e-mail addresses from the Third Party

Providers on November 21, 2024 and Plaintiff provided notice on November 22, 2024. See H-D

Mich., LLC v. Hellenic Duty Free Shops S.A., 694 F.3d 827, 843-45 (7th Cir. 2012). Additionally,

there is a high probability that the Defendants will continue to harm Plaintiff without the TRO in

place, especially since Defendants now have notice of this case.




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Dated this 25th day of November 2024.   Respectfully submitted,


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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 25th day of November 2024, I will electronically publish the

document on a website and I will send an e-mail to the e-mail addresses identified in Exhibit A to

the Summons that includes a link to said website.


                                             /s/ Rachel S. Miller
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                                             Justin R. Gaudio
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